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                                                                                         CIRCUIT COURT
                                                                                         DANE COUNTY, WI
                                                                                         2021CV000646
                                                                                         Honorable Stephen E
                                                                                         Ehlke
                                                                                         Branch 15
STATE OF WISCONSIN         CIRCUIT COURT        DANE COUNTY
                            BRANCH __
______________________________________________________________

RYAN RUBASH
825 S. Pleasant View Road, Apt. 4
Plymouth, WI 53073

               Plaintiff,                             Case No. _______________
v.                                                    Case Code: 30303 – Other Contracts

VOLKSWAGEN GROUP OF AMERICA, INC.
2200 Ferdinand Porsche Drive
Herndon, VA 20171

               Defendant.


                                            SUMMONS


THE STATE OF WISCONSIN

To each person named above as a defendant:

        You are hereby notified that the plaintiff named above has filed a lawsuit or other legal

action against you. The Complaint, which is attached, states the nature and basis of the legal action.

        Within twenty (20) days of receiving this Summons, you must respond with a written

answer, as that term is used in Chapter 802 of the Wisconsin Statutes, to the Complaint. The Court

may reject or disregard an answer that does not follow the requirements of the statutes. The answer

must be sent or delivered to the Clerk of Court, whose address is:

                       Clerk of Circuit Court
                       Dane County Courthouse
                       215 S. Hamilton Street
                       Madison, WI 53703




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and to the plaintiff’s attorney, whose address is:

                        Lawton & Cates, S.C.
                        Attorney Terrence M. Polich
                        P.O. Box 2965
                        345 W. Washington Ave., Suite 201
                        Madison, Wisconsin 53703

You may have an attorney help or represent you.

        If you do not provide a proper answer within twenty (20) days, the Court may grant

judgment against you for the award of money or other legal action requested in the Complaint, and

you may lose your right to object to anything that is or may be incorrect in the Complaint. A

judgment may be enforced as provided by law. A judgment awarding money may become a lien

against any real estate you own now or in the future, and may also be enforced by garnishment or

seizure of property.



        Dated this 17th day of March, 2021.

                                              LAWTON & CATES, S.C.

                                              By:        Electronically signed by Terrence M. Polich
                                                          Terrence M. Polich
                                                          State Bar No.: 1031375
                                                          Attorneys for Plaintiff
P.O. Box 2965
345 W. Washington Ave., Suite 201
Madison, WI 53703
P: (608) 282-6200
F: (608) 282-6252
tpolich@lawtoncates.com




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                                            Ex A, p. 2
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                                                                                       DANE COUNTY, WI
                                                                                       2021CV000646
                                                                                       Honorable Stephen E
                                                                                       Ehlke
                                                                                       Branch 15


STATE OF WISCONSIN         CIRCUIT COURT        DANE COUNTY
                            BRANCH __
______________________________________________________________

RYAN RUBASH
825 S. Pleasant View Road, Apt. 4
Plymouth, WI 53073

               Plaintiff,                            Case No. _______________
v.                                                   Case Code: 30303 – Other Contracts

VOLKSWAGEN GROUP OF AMERICA, INC.
2200 Ferdinand Porsche Drive
Herndon, VA 20171

               Defendant.


                                          COMPLAINT


        The plaintiff, by his attorneys, Lawton & Cates, S.C., as and for his complaint against the

defendant named above, alleges and shows to the Court as follows:

        1.     Plaintiff Ryan Rubash is an adult citizen of the State of Wisconsin, residing at 825

S. Pleasant View Road, Apt. 4, Plymouth, WI 53073.

        2.     Defendant Volkswagen Group of America, Inc. (“Volkswagen”) is a foreign

corporation authorized to conduct business in the State of Wisconsin with a principal office address

at 2200 Ferdinand Porsche Drive, Herndon, VA 20171.

        3.     Volkswagen manufactures and distributes motor vehicles throughout the State of

Wisconsin, including in Dane County.




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        4.      Volkswagen has one or more authorized dealers and servicing centers in Dane

County.

        5.      Volkswagen has substantial business contacts with Dane County by virtue of its

commercial activities including advertising, sales, and servicing of its vehicles under warranty.

        6.      On or about February 21, 2020, plaintiff took delivery of a used 2019 Volkswagen

Jetta 4-door sedan ("the Jetta”).

        7.      The Jetta was covered by Volkswagen's express warranty.

        8.      Plaintiff relied upon the above-described warranty in deciding to purchase the Jetta.

        9.      After taking delivery of the Jetta, plaintiff realized it suffered from numerous

defects which substantially impaired its use, value, and safety.

        10.     Said defects are covered by the warranties described herein.

        11.     On numerous occasions after taking delivery of the Jetta, and before expiration of

Volkswagen’s express warranty, the plaintiff notified Volkswagen and its authorized service

facilities of the defects.

        12.     On numerous occasions, plaintiff made the Jetta available to Volkswagen's

authorized service facilities for repair of the defects, after which the defects continued to exist,

substantially impairing the use, value and safety of the Jetta.

        13.     The Jetta has been out of service due to warranty nonconformities on numerous

occasions throughout the time since delivery, substantially impairing the use, value and safety of

the Jetta.

        14.     The Jetta's warranty nonconformities continue and have not been repaired by

Volkswagen or its authorized repair facilities.




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                                            Ex A, p. 4
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                                         FIRST CLAIM

       15.     The Jetta failed to conform to express warranties made by Volkswagen.

       16.     When the plaintiff reported the Jetta's nonconformities to Volkswagen and its

authorized service facilities and made the Jetta available for repair prior to the expiration of the

warranty, Volkswagen had a duty to repair the nonconformities.

       17.     Volkswagen breached its contractual and legal duty to the plaintiff by repeatedly

failing to repair the Jetta’s nonconformities, leaving its use, value, and safety substantially

impaired.

       18.     As a direct and proximate result of Volkswagen's actions and omissions described

herein, plaintiff has suffered damages as set forth more fully below.

                                        SECOND CLAIM

       19.     The plaintiff realleges and incorporates by reference the allegations contained in

paragraphs 1 through 18 of the Complaint as if set forth in full herein.

       20.     The acts and omissions of Volkswagen alleged herein constitute violations of the

Federal Magnuson-Moss Warranty Act, 15 U.S.C. §§2301, et. seq., entitling the plaintiff to the

remedies described therein, as well as those damages set forth more fully below.

                                         THIRD CLAIM

       21.     The plaintiff realleges and incorporates by reference the allegations contained in

paragraphs 1 through 20 of the Complaint as if set forth in full herein.

       22.     Volkswagen made express warranties to plaintiff that the Jetta would conform to

the affirmations and promises made by Volkswagen concerning the condition and capabilities of

the Volkswagen.




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                                            Ex A, p. 5
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       23.     Volkswagen breached its express warranty by providing plaintiff with a motor

vehicle that suffered from substantial defects and which did not perform as Volkswagen had

warranted.

       24.     As a direct and proximate result of Volkswagen's actions and omissions described

herein, plaintiff has suffered the damages as set forth more fully below.

                                        FOURTH CLAIM

       25.     The plaintiff realleges and incorporates by reference the allegations contained in

paragraphs 1 through 24 of the Complaint as if set forth in full herein.

       26.     Volkswagen’s failure to repair the Jetta pursuant to defendant’s express warranty

has caused said warranty to fail of its essential purpose.

       27.     As a direct and proximate result of the failure of Volkswagen to perform as required

by its express warranty, the plaintiff has suffered the damages as set forth more fully below.

       28.     As a direct and proximate result of Volkswagen's actions, omissions, violations and

breaches of its duties and breaches of warranties, both express and implied, the plaintiff has

suffered pecuniary loss, costs of repair, loss of income, collateral costs, costs of obtaining

alternative transportation, attorney fees, court costs and other losses.

       WHEREFORE, plaintiff demands judgment against the defendant as follows:

               A.      Requiring the defendant to refund to the plaintiff the amount paid pursuant

                       to the purchase contract, plus all sales tax, interest paid pursuant to any

                       financing agreement and collateral costs;

               B.      Awarding the plaintiff his costs, disbursements and reasonable attorney’s

                       fees; and

               C.      Providing for such other relief which the Court deems is just and equitable.




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                                             Ex A, p. 6
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        A TWELVE-PERSON JURY TRIAL IS HEREBY DEMANDED.

        Dated this 17th day of March, 2021.

                                              LAWTON & CATES, S.C.

                                              By:   Electronically signed by Terrence M. Polich
                                                     Terrence M. Polich
                                                     State Bar No.: 1031375
                                                     Attorneys for Plaintiff
P.O. Box 2965
345 W. Washington Ave., Suite 201
Madison, WI 53703
P: (608) 282-6200
F: (608) 282-6252
tpolich@lawtoncates.com




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                                          Ex A, p. 7
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                                                         AFFIDAVIT OF SERVICE                                             CIRCUIT COURT
                                                                                                                          DANE COUNTY, WI
 Case:                      Court:                                    County:                                Job;
                                                                      Dane, Wl                               5471819
                                                                                                                          2021CV000646
 2021CV000646               Dane County Circuit Court
 Plaintiff / Petitioner:                                              Defendant / Respondent:
 Ryan Rubash                                                          Volkswagen Group of America, Inc.
 Received by:                                                         For:
 Dane County Civil Process, LLC                                       Lawton & Cates
 To be served upon:
 Volkswagen Group of America, Inc.

I, Michael Jesse, being duly sworn, depose and say: I am overtheage of 18 years and not a party to this action, and that within the
boundaries of the state where service was effected, I was authorized by law to make service of the documents and informed said person of
the contents herein

Recipient Name / Address:    Jessica Ritzke, Licensed Researcher, Volkswagen Group of America, Inc., c/o Corporation Service Company,
                             Company: 8040 Excelsior Dr Suite 400, Madison, Wl 53717
Manner of Service:            Registered Agent, Mar 18, 2021, 1:55 pm CDT
Documents:                    Authenticated Summons and Complaint (Received Mar 18, 2021 at 9:00am CDT)

Additional Comments:
1) Successful Attempt: Mar 18, 2021, 1:55 pm CDT at Company: 8040 Excelsior Dr Suite 400, Madison, Wl 53717 received by Jessica Ritzke,
Licensed Researcher, Volkswagen Group of America, Inc., c/o Corporation Service Company. Age: 45; Ethnicity: Caucasian; Gender: Female;
Weight: 150; Height: 5'9”; Hair: Brown;
Served.

Fees:   $45.00
                                                                        Subscribed and sworn to before me by the affiant who is
                                                                        personally known to me.

 /A.                                        03/19/2021
                                                                            «
Michael Jesse                               Date
                                                                        Notary Public
Dane County Civil Process, LLC                                              03/19/2021         July 02 ffiBHIlf,.
345 W Washington Ave Suite 301                                                                 c o^^fJ
                                                                        Date
Madison, Wl 53703
608-906-2917                                                                                                         /'•.     -v

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                                                                                       DANE COUNTY, WI
                                                                                       2021CV000646



STATE OF WISCONSIN                      CIRCUIT COURT                          DANE COUNTY

 RYAN RUB ASH,

                                Plaintiff,

          vs.
                                                                       Case No. 2021-CV-000646
                                                                       Code No. 30303
 VOLKSWAGEN GROUP OF AMERICA,
 INC.,

                                Defendant.


                       ANSWER AND AFFIRMATIVE DEFENSES OF
                       VOLKSWAGEN GROUP OF AMERICA, INC.


         Volkswagen Group of America, Inc. (“Volkswagen”), by its attorneys Quarles & Brady

LLP, answers Plaintiffs’ Complaint as follows:

        1.     Plaintiff Ryan Rubash is an adult citizen of the State of Wisconsin, residing at 825
S. Pleasant View Road, Apt. 4, Plymouth, WI 53073.

         ANSWER:        Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 1 and therefore denies.


       2.      Defendant, Volkswagen Group of America, Inc. (“Volkswagen”), is a foreign
corporation authorized to conduct business in the State of Wisconsin with a principal office
address at 2200 Ferdinand Porsche Drive, Herndon, VA 20171.

         ANSWER:         Volkswagen admits the allegations in paragraph 2.

      3.      Volkswagen manufactures and distributes motor vehicles throughout the State of
Wisconsin, including in Dane County.

         ANSWER:         Volkswagen admits the allegations in paragraph 3.




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                                             Ex A, p. 9
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       4.       Volkswagen has one or more authorized dealers and servicing centers in Dane
County.

         ANSWER:          Volkswagen admits that it has an authorized dealership in Dane County

and lacks knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in paragraph 4 and therefore denies.

     5.       Volkswagen has substantial business contacts with Dane County by virtue of its
commercial activities including advertising, sales, and servicing of its vehicles under warranty.

         ANSWER:        Volkswagen admits that it conducts business in Dane County and lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

paragraph 5 and therefore denies.

      6.     On or about February 21, 2020, plaintiff took delivery of a used 2019
Volkswagen Jetta 4-door sedan (“the Jetta”).

         ANSWER:        Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the remaining allegations in paragraph 6 and therefore denies.

         7.     The Jetta was covered by Volkswagen’s express warranty.

         ANSWER:        Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 7 and therefore denies.

         8.     Plaintiff relied upon the above-described warranty in deciding to purchase the
Jetta.

         ANSWER:        Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 9 and therefore denies.

        9.    After taking delivery of the Jetta, plaintiff realized it suffered from numerous
defects which substantially impaired its use, value, and safety.

         ANSWER:       Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 9 and therefore denies.




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                                           Ex A, p. 10
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         10.    Said defects are covered by the warranties described herein.

         ANSWER:       Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 10 and therefore denies.

         11.     On numerous occasions after taking delivery of the Jetta, and before expiration of
Volkswagen’s express warranty, the plaintiff notified Volkswagen and its authorized service
facilities of the defects.

         ANSWER:        Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 11 and therefore denies.

        12.     On numerous occasions, plaintiff made the Jetta available to Volkswagen’s
authorized service facilities for repair of the defects, after which the defects continued to exist,
substantially impairing the use, value and safety of the Jetta.

         ANSWER:        Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 12 and therefore denies.

         13.   The Jetta has been out of service due to warranty nonconformities on numerous
occasions throughout the time since delivery, substantially impairing the use, value and safety of
the Jetta.

         ANSWER:        Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 13 and therefore denies.

      14.    The Jetta’s warranty nonconformities continue and have not been repaired by
Volkswagen or its authorized repair facilities.

         ANSWER:        Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 14 and therefore denies.

                                          FIRST CLAIM

         15.    The Jetta failed to conform to express warranties made by Volkswagen.

         ANSWER:       Volkswagen incorporates its responses to paragraphs 1-14 as if set forth in

full herein.




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                                            Ex A, p. 11
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        16.    When the plaintiff reported the Jetta’s nonconformities to Volkswagen and its
authorized service facilities and made the Jetta available for repair prior to the expiration of the
warranty, Volkswagen had a duty to repair the nonconformities.

         ANSWER:        Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 16 and therefore denies.

         17.    Volkswagen breached its contractual and legal duty to the plaintiff by repeatedly
failing to repair the Jetta’s nonconformities, leaving its use, value, and safety substantially
impaired.

         ANSWER:        Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 17 and therefore denies.

        18.     Asa direct and proximate result of Volkswagen’s action and omissions described
herein, Plaintiff has suffered damages as set forth more fully below.

         ANSWER:        Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 18 and therefore denies.

                                         SECOND CLAIM

       19.     The plaintiff realleges and incorporates by reference the allegations contained in
paragraphs 1 through 18 of the Complaint as if set forth in full herein.

         ANSWER:        Volkswagen incorporates its responses to paragraphs 1-18 as if set forth

in full herein.

       20.    The acts and omissions of Volkswagen alleged herein constitute violations of the
Federal Magnuson-Moss Warranty Act, 15 U.S.C.§§2301, et. seep, entitling the plaintiff to the
remedies described therein, as well as those damages set forth more fully below.

         ANSWER:       Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 20 and therefore denies.

                                          THIRD CLAIM

       21.     The plaintiff realleges and incorporates by reference the allegations contained in
paragraphs 1 through 20 of the Complaint as if set forth in full herein.

         ANSWER:        Volkswagen incorporates its responses to paragraphs 1-20 as if set forth in

full herein..
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                                            Ex A, p. 12
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        22.    Volkswagen made express warranties to plaintiff that the Jetta would conform to
the affirmations and promises made by Volkswagen concerning the condition and capabilities of
the Volkswagen.

         ANSWER:        Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 22 and therefore denies.

        23.     Volkswagen breached its express warranty by providing plaintiff with a motor
vehicle that suffered from substantial defects and which did not perform as Volkswagen had
warranted.

         ANSWER:        Volkswagen denies the allegations in paragraph 23.

        24.     As a direct and proximate result of Volkswagen’s actions and omissions described
herein, plaintiff has suffered the damages as set forth more fully below.

         ANSWER:        Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 24 and therefore denies.

                                            FOURTH CLAIM

       25.     The plaintiff realleges and incorporates by reference the allegations contained in
paragraphs 1 through 24 of the Complaint as if set forth in full herein.

         ANSWER:        Volkswagen incorporates its responses to paragraphs 1-24 as if set forth

in full herein.

       26.     Volkswagen’s failure to repair the Jetta pursuant to defendant’s express warranty
has caused said warranty to fail of its essential purpose.

         ANSWER:        Volkswagen denies the allegations in paragraph 26.

       27.      As a direct and proximate result of the failure of Volkswagen to perform as
required by its express warranty, the plaintiff has suffered damages as set forth more fully below.

         ANSWER:        Volkswagen denies the allegations in paragraph 27.

        28.     As a direct and proximate result of Volkswagen’s actions, omissions, violations
and breaches of its duties and breaches of warranties, both express and implied, the plaintiff has
suffered pecuniary loss, costs of repair, loss of income, collateral costs, costs of obtaining
alternative transportation, attorney fees, court costs and other losses.

         ANSWER:       Volkswagen denies the allegations in paragraph 28.


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                                   AFFIRMATIVE DEFENSES

         As and for its affirmative defenses to the Complaint, Volkswagen hereby alleges as

follows:

           1.   Plaintiffs Complaint fails to state a claim upon which relief can be granted.

         2.     To the extent that Plaintiff complains of conditions alleged to have been

encountered in the use of the vehicle identified in the Complaint, upon information and belief,

such conditions may be the result of an unauthorized modification, abuse, neglect, misuse or

other alterations of the subject vehicle.

           3.   Upon information and belief, the conditions about which the Plaintiff complains

with respect to the use and operation of the subject vehicle are intrinsic to the nature of the

subject vehicle.

         4.     Upon information and belief, the conditions complained of by Plaintiff with

respect to the subject vehicle were not warranted by this defendant.

           5.   Upon information and belief, the conditions complained of by Plaintiff with

respect to the subject vehicle did not substantially impair the use, value or safety of the subject

vehicle.

           6.   Plaintiff have failed to mitigate damages as required by law.

           7.   Upon information and belief, Plaintiffs damages, if any, were caused by their

own acts, not the acts of this defendant.

           8.   Upon information and belief, Plaintiffs damages, if any, were caused by persons

or entities other than this defendant, and for whose conduct this defendant is not responsible.

           9.   Even assuming that anything that this defendant did or did not do is deemed to be

a cause of Plaintiff s damages, Plaintiffs claims are barred from recovery by the doctrine of

superseding cause and/or intervening cause.

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                                            Ex A, p. 14
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         10.    Plaintiff has failed to give timely notice of the alleged defect, breach of warranty,

revocation or other claims to the defendant.

         11.    Plaintiffs claims are barred in whole or in part by the defendant’s limitations on

damages and/or disclaimer of warranties, express or implied.

         12.    Plaintiffs claims for incidental or consequential damages, if any, are barred in

whole or in part because the alleged damages were not reasonably foreseeable.

         13.    Plaintiffs claims may be barred by any applicable statute of limitations, doctrine

of laches or statute of repose.

         14.    Plaintiff has failed to give proper notice of revocation.

         15.    Plaintiff has failed to participate in good faith and exhaust pre-litigation dispute

resolution options.

         16.    Venue for Plaintiffs claims is improper.

         WHEREFORE defendant requests that the Court enter an Order dismissing the

Complaint with prejudice, awarding Volkswagen of America, Inc. its costs and expenses

incurred in the defense of this matter, including actual attorney’s fees, and for such other and

further relief to which defendant may be entitled.

                                         JURY DEMAND


         Alternatively, defendant respectfully demands a trial by jury.




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         Dated this 6th day of April, 2021.

                                                QUARLES & BRADY LLP

                                                Electronically signed by Sara P. Scullen
                                                SaraP. Scullen (State Bar No. 1030763)
                                                411 E. Wisconsin Ave., Suite 2350
                                                Milwaukee WI 53202-4426
                                                Telephone: (414)277-5000
                                                Facsimile: (414)203-0190
                                                Email: sara.scullen@quarles.com

                                                Attorneys for Defendant Volkswagen Group of
                                                America, Inc.




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                                                                                           DANE COUNTY, WI
STATE OF WISCONSIN                  CIRCUIT COURT                                          2021CV000646

DANE COUNTY


RYAN RUBASH

                Plaintiff,                              Case No. 21CV646
v.                                                      Case Code: 30303 – Other Contracts

VOLKSWAGEN GROUP OF AMERICA, INC.
And
AMERICAN CREDIT ACCEPTANCE

                Defendants.


           PLAINTIFF’S MOTION FOR TEMPORARY RESTRAINING ORDER


        NOW COMES the Plaintiff, Ryan Rubash, by and through his attorneys, Attorney
Terrence M. Polich and Lawton & Cates, S.C. and as and for a motion for a temporary
restraining order and preliminary injunction pursuant to § 813.02, Wis. Stats. and hereby
requests the Court issue a temporary restraining order prohibiting the defendants from selling or
otherwise disposing of plaintiff’s vehicle at issue in this action until further order from the Court,
and requiring defendant to produce the vehicle for inspection at a date and time to be determined
by the Court.
        In further support hereof, plaintiff states, argues, alleges and offers to prove that:
     1. Plaintiff filed this action March 17, 2021, and at that time was in possession of the
        vehicle at issue herein.
     2. As alleged in the accompanying amended complaint naming the creditor American Credit
        Acceptance (ACA) as an additional defendant, plaintiff’s Jetta was repossessed in May,
        shortly before a scheduled inspection of the vehicle in this case.
     3. Plaintiff’s counsel has attempted to arrange with ACA to produce the car for inspection,
        but ACA has not responded to those requests.
     4. Plaintiff’s counsel risks additional costs if the inspection is not held in a reasonable time,
        and not allowing inspection may jeopardize plaintiff’s claims against Volkswagen.



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                                             Ex A, p. 17
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   5. Further, plaintiff has alleged that the repossession in this matter violated Wisconsin law
       and if plaintiff proves that violation, he will be entitled to a return of his vehicle.
   6. Accordingly, allowing a sale of the vehicle while this matter is pending would jeopardize
       plaintiff’s ability to prove his claims in this case, and would jeopardize plaintiff’s
       recovery in this matter.
   7. Plaintiff is asking the Court IMMEDIATELY grant a temporary restraining order
       prohibiting all defendants in this action from selling the vehicle until further order of the
       Court, and requiring the vehicle be made available for inspection at a mutually-agreeable
       time.
Dated: This 17th day of June, 2021.                    Lawton & Cates, S.C.
                                                       Attorneys for Plaintiff, Ryan Rubash
                                                       Electronically Signed By:

                                                       /s/ Briane F. Pagel__________________
                                                       Attorney Briane F. Pagel
                                                       State Bar No. 1025514
P.O. Address:
345 W. Washington Ave. Ste. 201
P.O. Box 2965
Madison, WI 53703
P: 608.282.6200/F: 608.282.6252
bpagel@lawtoncates.com




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                                            Ex A, p. 18
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                                                                                        CIRCUIT COURT
                                                                                        DANE COUNTY, WI
STATE OF WISCONSIN                 CIRCUIT COURT                                        2021CV000646

DANE COUNTY


RYAN RUBASH

                Plaintiff,                            Case No. 21CV646
v.                                                    Case Code: 30303 – Other Contracts

VOLKSWAGEN GROUP OF AMERICA, INC.
And
AMERICAN CREDIT ACCEPTANCE

                Defendants.


                 DECLARATION OF ATTORNEY TERRENCE M. POLICH
                          IN SUPPORT OF PLAINTIFF’S
                  MOTION FOR TEMPORARY RESTRAINING ORDER


STATE OF WISCONSIN             )
                               ) SS.
COUNTY OF DANE                 )


TERRENCE M. POLICH UNDER OATH STATES:

     1. I am counsel for plaintiff and make this affidavit on my own personal knowledge.
     2. On behalf of plaintiff, we filed this action March 17, 2021. At that time plaintiff was in
        possession of the vehicle at issue herein, Volkswagen Jetta.
     3. As alleged in the accompanying amended complaint naming the creditor American Credit
        Acceptance (ACA) as an additional defendant, plaintiff’s Jetta was repossessed in May,
        shortly before a scheduled inspection of the vehicle in this case.
     4. I faxed a letter to ACA to produce the car for inspection, but ACA has not responded to
        that letter.
     5. Failing to allow the inspection in a reasonable time, or not allowing the inspection, may
        jeopardize plaintiff’s claims against Volkswagen.




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                                            Ex A, p. 19
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 6. Further, based on our investigation, we have alleged that the repossession in this matter
     violated Wisconsin law and if plaintiff proves that violation, he will be entitled to a return
     of his vehicle.
 7. Accordingly, allowing a sale of the vehicle while this matter is pending would jeopardize
     plaintiff’s ability to prove his claims in this case, and would jeopardize plaintiff’s
     recovery in this matter.
 8. Plaintiff is asking the Court IMMEDIATELY grant a temporary restraining order
     prohibiting all defendants in this action from selling the vehicle until further order of the
     Court, and requiring the vehicle be made available for inspection at a mutually-agreeable
     time.
I swear and affirm the above statements are true and correct as reflected by my electronic signature.

                                                      Lawton & Cates, S.C.
                                                      Attorneys for Plaintiff, Ryan Rubash
                                                      Electronically Signed By:

                                                      /s/ Terrence M. Polich__________________
                                                      Attorney Terrence M. Polich
                                                      State Bar No. 1031375




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                                           Ex A, p. 20
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                                                                                       DANE COUNTY, WI
STATE OF WISCONSIN                CIRCUIT COURT                                        2021CV000646
                                                                                       Honorable Stephen E
DANE COUNTY                                                                            Ehlke
                                                                                       Branch 15

RYAN RUBASH
825 S. Pleasant View Road, Apt. 4
Plymouth, WI 53073

               Plaintiff,                            Case No. 21CV646
v.                                                   Case Code: 30303 – Other Contracts

VOLKSWAGEN GROUP OF AMERICA, INC.
2200 Ferdinand Porsche Drive
Herndon, VA 20171
And
AMERICAN CREDIT ACCEPTANCE
961 E Main St
Spartanburg, SC, 29302-2185
Registered Agent:
C T Corporation System
301 S. Bedford, Suite 1
Madison, WI 53703

               Defendants.

                                FIRST AMENDED SUMMONS

The STATE OF WISCONSIN

To the above-named defendants:


You are hereby notified that the plaintiff named above has filed a lawsuit or other legal action
against you. The amended complaint, which is attached, states the nature and basis of the legal
action.


Within (45) days after receiving this summons, you must respond with a written answer,
As that term is used in Wis. Stats. Ch. 802, to the complaint. The court may reject or disregard
an answer that does not follow the requirements of the statutes. The answer must be sent to the
Dane County Clerk of Courts whose address is:




                                                 1

                                           Ex A, p. 21
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                           Dane County Clerk of the Circuit Court
                               215 S. Hamilton St. Room 1000
                                    Madison, WI 53703

And to Attorney Briane F. Pagel, Plaintiff’s Attorney, whose address is:

                                       Lawton & Cates, S.C.
                                  345 W. Washington Ave. Ste. 201
                                          P.O. Box 2965
                                        Madison, WI 53703

You may have an attorney help or represent you.


If you do not provide a proper answer within (45) days, the court may grant judgment against
you for the award of money or other legal action requested in the complaint, and you may lose
your right to object to anything that is or may be incorrect in the complaint. A judgment may be
enforced as provided by law. A judgment awarding money may become a lien against any real
estate you own now or in the future and may also be enforced by garnishment or seizure of
property.


Dated: This 17th day of June, 2021. .               Lawton & Cates, S.C.
                                                    Attorneys for Plaintiff, Ryan Rubash
                                                    Electronically Signed By:

                                                    /s/ Briane F. Pagel___________________
                                                    Attorney Briane F. Pagel
                                                    State Bar No. 1025514
P.O. Address:
345 W. Washington Ave. Ste. 201
P.O. Box 2965
Madison, WI 53703
P: 608.282.6200/F: 608.282.6252
bpagel@lawtoncates.com




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                                           Ex A, p. 22
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STATE OF WISCONSIN                CIRCUIT COURT
DANE COUNTY


RYAN RUBASH
825 S. Pleasant View Road, Apt. 4
Plymouth, WI 53073

               Plaintiff,                            Case No. 21CV646
v.                                                   Case Code: 30303 – Other Contracts

VOLKSWAGEN GROUP OF AMERICA, INC.
2200 Ferdinand Porsche Drive
Herndon, VA 20171
And
AMERICAN CREDIT ACCEPTANCE
961 E Main St
Spartanburg, SC, 29302-2185
Registered Agent:
C T Corporation System
301 S. Bedford, Suite 1
Madison, WI 53703

               Defendants.

                              FIRST AMENDED COMPLAINT


        The plaintiff, Ryan Rubash, by and through his attorneys, Lawton & Cates, S.C., and
Attorney Terrence M. Polich, as and for his First Amended Complaint against the defendants
named above, alleges and shows to the Court as follows:
                                                PARTIES
        1.     Plaintiff Ryan Rubash is an adult citizen of the State of Wisconsin, residing at 825
S. Pleasant View Road, Apt. 4, Plymouth, WI 53073.
        2.     Defendant Volkswagen Group of America, Inc. (“Volkswagen”) is a foreign
corporation authorized to conduct business in the State of Wisconsin with a principal office address
at 2200 Ferdinand Porsche Drive, Herndon, VA 20171.
        3.     Volkswagen manufactures and distributes motor vehicles throughout the State of
Wisconsin, including in Dane County.




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        4.      Volkswagen has one or more authorized dealers and servicing centers in Dane
County.
        5.      Volkswagen has substantial business contacts with Dane County by virtue of its
commercial activities including advertising, sales, and servicing of its vehicles under warranty.
        6.      Defendant American Credit Acceptance (“ACA”) is upon information and belief a
foreign corporation engaged in lending money. ACA’s business includes regularly lending money
to individuals, which individuals use said funds for personal, family or household purposes.
                                        BACKGROUND FACTS
        7.      Reallege and incorporate the foregoing as though set forth fully at this point.
        8.      On or about February 21, 2020, plaintiff took delivery of a used 2019 Volkswagen
Jetta 4-door sedan ("the Jetta”).
        9.      The Jetta was covered by Volkswagen's express warranty.
        10.     Plaintiff relied upon the above-described warranty in deciding to purchase the Jetta.
        11.     After taking delivery of the Jetta, plaintiff realized it suffered from numerous
defects which substantially impaired its use, value, and safety.
        12.     Said defects are covered by the warranties described herein.
        13.     On numerous occasions after taking delivery of the Jetta, and before expiration of
Volkswagen’s express warranty, the plaintiff notified Volkswagen and its authorized service
facilities of the defects.
        14.     On numerous occasions, plaintiff made the Jetta available to Volkswagen's
authorized service facilities for repair of the defects, after which the defects continued to exist,
substantially impairing the use, value and safety of the Jetta.
        15.     The Jetta has been out of service due to warranty nonconformities on numerous
occasions throughout the time since delivery, substantially impairing the use, value and safety of
the Jetta.
        16.     The Jetta's warranty nonconformities continue and have not been repaired by
Volkswagen or its authorized repair facilities.
        17.     In September, 2020, plaintiff contacted Volkswagen to discuss the ongoing issues
with his car and the fact that he was making payments on a car that had numerous issues.
Volkswagen at that time told plaintiff he should stop making payments, because they would switch




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                                           Ex A, p. 24
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out his vehicle due to the his ongoing issues with his current vehicle coupled with the warranty
claims he would making. Plaintiff believed that Volkswagen had the authority to allow him to stop
making the payments on the car.
        18.     Plaintiff obtained the Jetta by financing part of the purchase price. The amount
plaintiff financed was less than $25,000. ACA provided the financing for plaintiff’s purchase.
        19.     In March 2021, ACA contacted plaintiff and told him that his vehicle was in
“repossession status” due to his missing payments.
        20.     In the March 2021 phone call, ACA told plaintiff that if he made a payment of $505
that day, his car would be taken out of “repossession status,” which plaintiff understood to mean
that his loan would be restored to sufficient standing that he would not have to worry about
repossession.
        21.     Plaintiff paid the $505 as agreed, and based on the agreement believed his car was
no longer subject to repossession.
        22.     ACA did not tell plaintiff that he had to resume making his regular payments on
the vehicle in the March 2021 phone call.
        23.     On May 24th, plaintiff returned home and saw that the Jetta was missing from where
he had parked it. Plaintiff contacted ACA to see if they had after all repossessed his car. ACA
confirmed that it had been repossessed.
        24.     Plaintiff asked where his car was and who had repossessed the vehicle. ACA would
not provide him that information.
        25.     ACA told plaintiff on May 24th that he would have to pay approximately $5,000 to
redeem his vehicle, which ACA said was inclusive of past due payments, fees they incurred in
repossession, but which ACA said did not include any fees the repossession company might charge
plaintiff.
        26.     Upon information and belief, plaintiff has not received any written correspondence
from ACA or Volkswagen stating that he was in default on the loan at any time in the year prior
to repossession of the Jetta; and plaintiff has received no written correspondence providing him an
opportunity to cure any alleged defaults.




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                                            Ex A, p. 25
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       27.     Upon information and belief, plaintiff has not received any communications which
provide him with the exact amount he needed to pay to redeem his vehicle from ACA at any time
since the Jetta was repossessed.
       28.     At the time the Jetta was repossessed, an inspection of the Jetta was scheduled for
May 27, 2021. On May 25, 2021, counsel for plaintiff faxed a letter to ACA informing them of the
scheduled inspection and asked that ACA make the car available for the inspection. ACA did not
respond to that request.
       29.     As a result of the failure to respond, the inspection had to be postponed.
                                         FIRST CLAIM
       30.     Reallege and incorporate the foregoing as though set forth fully at this point.
       31.     The Jetta failed to conform to express warranties made by Volkswagen.
       32.     When the plaintiff reported the Jetta's nonconformities to Volkswagen and its
authorized service facilities and made the Jetta available for repair prior to the expiration of the
warranty, Volkswagen had a duty to repair the nonconformities.
       33.     Volkswagen breached its contractual and legal duty to the plaintiff by repeatedly
failing to repair the Jetta’s nonconformities, leaving its use, value, and safety substantially
impaired.
       34.     As a direct and proximate result of Volkswagen's actions and omissions described
herein, plaintiff has suffered damages as set forth more fully below.
                                       SECOND CLAIM
       35.     Reallege and incorporate the foregoing as though set forth fully at this point.
       36.     The acts and omissions of Volkswagen alleged herein constitute violations of the
Federal Magnuson-Moss Warranty Act, 15 U.S.C. §§2301, et. seq., entitling the plaintiff to the
remedies described therein, as well as those damages set forth more fully below.
                                         THIRD CLAIM
       37.     Reallege and incorporate the foregoing as though set forth fully at this point.
       38.     Volkswagen made express warranties to plaintiff that the Jetta would conform to
the affirmations and promises made by Volkswagen concerning the condition and capabilities of
the Volkswagen.




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                                           Ex A, p. 26
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       39.     Volkswagen breached its express warranty by providing plaintiff with a motor
vehicle that suffered from substantial defects and which did not perform as Volkswagen had
warranted.
       40.     As a direct and proximate result of Volkswagen's actions and omissions described
herein, plaintiff has suffered the damages as set forth more fully below.
                                        FOURTH CLAIM
       41.     Reallege and incorporate the foregoing as though set forth fully at this point.
       42.     Volkswagen’s failure to repair the Jetta pursuant to defendant’s express warranty
has caused said warranty to fail of its essential purpose.
       43.     As a direct and proximate result of the failure of Volkswagen to perform as required
by its express warranty, the plaintiff has suffered the damages as set forth more fully below.
       44.     As a direct and proximate result of Volkswagen's actions, omissions, violations and
breaches of its duties and breaches of warranties, both express and implied, the plaintiff has
suffered pecuniary loss, costs of repair, loss of income, collateral costs, costs of obtaining
alternative transportation, attorney fees, court costs and other losses.
                                            FIFTH CLAIM:
       45.     Reallege and incorporate the foregoing as though set forth fully at this point.
       46.     In March 2021, ACA told plaintiff that if he paid $505 his car would not be subject
to repossession. Plaintiff paid the $505.
       47.     ACA did not tell plaintiff there were any other conditions or requirements to avoid
repossession in and after March 2021, including specifically not telling plaintiff that after the $505
he was to begin regular monthly payments.
       48.     ACA then repossessed the Jetta on May 24, 2021.
       49.     ACA’s actions were not done with honesty in fact and in keeping with reasonable
commercial standards; a reasonable merchant being honest in fact would have told plaintiff that
he must pay $505 at the time, and then resume and continue making his regular monthly payments
to continue to avoid repossession; or, alternatively, a reasonable and honest merchant would have
contacted plaintiff when and if his car would be returned to “repossession status” after he paid the
$505 in March 2021; ACA’s actions accordingly violate § 421.108, Wis. Stats.




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                                             Ex A, p. 27
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        50.        Plaintiff has suffered damages as a result of the foregoing allegations including
but not limited to increased costs to redeem his car (consisting of at least repossession fees and
potentially other charges) and loss of use of his vehicle, as well as possible additional costs in
this litigation.


                                                SIXTH CLAIM:
        51.        Reallege and incorporate the foregoing as through set forth fully at this point.
        52.        ACA’s actions as alleged herein constitute claiming rights to repossess plaintiff’s
Jetta in violation of the obligation of good faith, and to repossess plaintiff’s vehicle without
providing him in advance notices of default and an opportunity to cure, and to hold plaintiff’s
vehicle without providing plaintiff the full amount to redeem his vehicle.
        53.        ACA’s claimed rights as set forth herein do not actually exist, insofar as Wisconsin
law prohibits said actions.
        54.        ACA has reason to know the rights it asserted regarding plaintiff and his vehicle do
not exist, because as a merchant ACA is deemed to know Wisconsin law.
        55.        ACA’s conduct violates § 427.104(1)(j), Wis. Stats.
        56.        Plaintiff has suffered damages by reason of ACA’s violation of § 427.104(1)(j)
including but not limited to emotional distress and increased costs to redeem his vehicle.
                                          SEVENTH CLAIM:
        57.        Reallege and incorporate the foregoing as though set forth fully at this point.
        58.        Volkswagen’s advice to plaintiff to stop paying his loan, coupled with ACA’s
conduct in telling plaintiff he need pay only $505 in March 2021 to avoid repossession, unfairly
took advantage of plaintiff’s lack of knowledge about his obligations under the car loan, and caused
plaintiff to misunderstand the true nature of the transaction between himself, Volkswagen, and
ACA.
        59.        ACA’s failure to provide written notices of default, the right to cure, and
redemption information, coupled with ACA’s assertion that plaintiff might have to pay the
repossession company and ACA fees related to the repossession, unfairly took advantage of
plaintiff’s lack of knowledge and experience with consumer vehicle repossessions, and left
plaintiff unable to protect his interests by reason of his lack of understanding of these issues.




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                                              Ex A, p. 28
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       60.     Volkswagen’s and ACA’s conduct directed against plaintiff is unconscionable, and
as a result, this Court is requested to refuse to enforce the transaction between plaintiff, and ACA
and Volkswagen, any further, returning plaintiff’s Jetta to him and removing any obligation for
plaintiff to continue payment, and removing any lien asserted by ACA; further, the Court is
requested to order defendants to delete the tradeline from any credit reporting agencies they have
reported this obligation to, and not re-report it; further, the Court is requested to order that neither
defendant issue any document (including but not limited to a 1099) which purports to shift tax
liability to plaintiff or away from defendants.
                                         EIGHTH CLAIM:
       61.     Reallege and incorporate the foregoing as though set forth fully at this point.
       62.     ACA’s conduct herein constitutes an illegal nonjudicial repossession.
       63.     Plaintiff has suffered damages as a result of ACA’s illegal nonjudicial repossession.
       64.     Plaintiff is entitled to his remedies as set forth in § 425.305, Wis. Stats.
WHEREFORE, plaintiff demands judgment against the defendant as follows:
       A.      Requiring the defendant Volkwagen to refund to the plaintiff the amount paid
               pursuant to the purchase contract, plus all sales tax, interest paid pursuant to any
               financing agreement and collateral costs;
       B.      Awarding the plaintiff his other damages, costs, disbursements and reasonable
               attorney’s fees; and
       C.      Providing for such other relief which the Court deems is just and equitable.

                  A TWELVE-PERSON JURY TRIAL IS HEREBY DEMANDED.

Dated: This 17th day of June, 2021.                     Lawton & Cates, S.C.
                                                        Attorneys for Plaintiff, Ryan Rubash
                                                        Electronically Signed By:

                                                        /s/ Briane F. Pagel___________________
                                                        Attorney Briane F. Pagel
                                                        State Bar No. 1025514
P.O. Address:
345 W. Washington Ave. Ste. 201
P.O. Box 2965
Madison, WI 53703
P: 608.282.6200/F: 608.282.6252




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                                            Ex A, p. 29
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                                                                                          DANE COUNTY, WI
 STATE OF WISCONSIN                      CIRCUIT COURT                                    2021CV000646
 DANE COUNTY


RYAN RUBASH

                  Plaintifl                                   Case No. 2lCV646
v.                                                            Case Code: 30303 - Other Contracts

voLKS\ryAGEN GROUP OF AMERICA,INC.
And
AMERICAN CREDIT ACCEPTANCE,

                 Defendants.



                                        AFFIDAVIT OF SERVICE


STATE OF WISCONSIN                )
                                  )   S S.
DANE COUNTY                       )

The undersigned, Taylor Chantes, being first duly sworn on oath, states the following

     1.   I am a wisconsin citizen and am not    a   party to the above-captioned case.
     2.   I make this Afhdavit on my own personal knowledge.
     3.   On Friday June 18, 2021, at approximately 3:30 p.m., I served the Plaintiffls First
          Amended Summons and Complaint on the Defendant, American Credit Acceptance.
     4.   I served the Registered Agent for the Defendant, C T Corporation System located on 301
          S. Bedford St. Suite   l, Madison Wisconsin,53703.


                                                          Taylor
Subscribed and sworn to before me
This lSth day of June,202l.
                                                     ¡ßYP

Notary Public,   of                          h   VICTORIA          H

My Commission Expires:           -29-23           DIETEL

                                                     OF WIS




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                                             Ex A, p. 30
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STATE OF WISCONSIN                                  CIRCUIT COURT                                       DANE COUNTY                     06-23-2021
                                                                                                                                        CIRCUIT COURT
                                                                                                                                        DANE COUNTY, WI
                                                                                                                                        2021CV000646
Ryan Rubash vs. Volkswagen Group of America, Inc.                                         Notice of Hearing

                                                                                           Case No: 2021CV000646



                     COURT ORIGINAL




This case is scheduled for: Telephone scheduling conference

Date                                      Time                                     Location
07-16-2021                                09:30 am                                 7th Floor, Courtroom 7D - Branch 15
Circuit Court Judge/Circuit Court Commissioner                                     215 S Hamilton Street
Stephen E Ehlke                                                                    Madison WI 53703-3285
Re
Other-Contract

This matter will not be adjourned by the court except upon formal motion for good cause or with the specific approval of the court
upon stipulation by all parties.

PLAINTIFF'S ATTORNEY IS TO SET UP THE TELEPHONE CALL FOR THIS HEARING. ALL OTHER PARTIES MUST
PROVIDE A TELEPHONE NUMBER TO PLAINTIFF'S ATTORNEY NO LATER THAN 3 BUSINESS DAYS PRIOR TO HEARING
DATE. THE COURT CAN BE CALLED AT (608) 267-2517.

***PLEASE NOTE***Plaintiff's Motion for Temporary Restraining Order - filed 06-17-2021 to be heard at this time also***


 If you require reasonable accommodations due to a
 disability to participate in the court process, please call                            Dane County Circuit Court
 608-266-4311 prior to the scheduled court date. Please                                 Date: June 23, 2021
 note that the court does not provide transportation.


DISTRIBUTION                              Address                                                                               Service Type
Court Original
Briane Frederick Pagel Jr.                                                                                                      Electronic Notice
Terrence Mark Polich                                                                                                            Electronic Notice
Sara P Scullen                                                                                                                  Electronic Notice
Amy M. Salberg                                                                                                                  Electronic Notice




GF-101(CCAP), 10/2009 Notice of Hearing
                                            This form shall not be modified. It may be supplemented with additional material.

                                                                          Ex A, p. 31
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                                                                                      CIRCUIT COURT
                                                                                      DANE COUNTY, WI
STATE OF WISCONSIN                      CIRCUIT COURT                         DANE COUNTY
                                                                                   2021CV000646



RYAN RUBASH,
825 S. Pleasant View Road, Apt. 4
Plymouth, WI 53073
                            Plaintiff,

         v.                                                  Case No. 2021-CV-000646
                                                             Code Code: 30303 - Other Contracts

VOLKSWAGEN GROUP OF AMERICA,
INC.,
2200 Ferdinand Porsche Drive
Herndon, VA 20171
And
AMERICAN CREDIT ACCEPTANCE
961 E Main St
Spartanburg, SC, 29302-2185
Registered Agent:
C T Corporation System
301 S. Bedford, Suite 1
Madison, WI 53703
                            Defendants.


 VOLKSWAGEN GROUP OF AMERICA, INC.'S ANSWERS TO PLAINTIFF’S FIRST
                     AMENDED COMPLAINT


         Volkswagen Group of America, Inc. (“Volkswagen”), by its attorneys Quarles & Brady

LLP, answers Plaintiff’s First Amended Complaint as follows:

                                             PARTIES

        1.     Plaintiff Ryan Rubash is an adult citizen of the State of Wisconsin, residing at 825
S. Pleasant View Road, Apt. 4, Plymouth, WI 53073.

         ANSWER:       Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 1 and therefore denies.

       2.      Defendant Volkswagen Group of America, Inc. (“Volkswagen”) is a foreign
corporation authorized to conduct business in the State of Wisconsin with a principal office
address at 2200 Ferdinand Porsche Drive, Herndon, VA 20171.



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          ANSWER:      Volkswagen admits the allegations in paragraph 2.

      3.      Volkswagen manufactures and distributes motor vehicles throughout the State of
Wisconsin, including in Dane County.

          ANSWER:      Volkswagen admits the allegations in paragraph 3.

      4.        Volkswagen has one or more authorized dealers and servicing centers in Dane
County.

          ANSWER:      Volkswagen admits that it has an authorized dealership in Dane County

and lacks knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in paragraph 4 and therefore denies.

     5.       Volkswagen has substantial business contacts with Dane County by virtue of its
commercial activities including advertising, sales, and servicing of its vehicles under warranty.

          ANSWER:      Volkswagen admits that it conducts business in Dane County and lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations

in paragraph 5 and therefore denies.

       6.     Defendant American Credit Acceptance (“ACA”) is upon information and belief a
foreign corporation engaged in lending money. ACA’s business includes regularly lending
money to individuals, which individuals use said funds for personal, family or household
purposes.

          ANSWER:      Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 6 and therefore denies.

                                    BACKGROUND FACTS

          7.    Reallege and incorporate the foregoing as though set forth fully at this point.

          ANSWER:      Volkswagen incorporates its answers to the foregoing as if set forth in full

herein.

      8.     On or about February 21, 2020, plaintiff took delivery of a used 2019
Volkswagen Jetta 4-door sedan ("the Jetta”).




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         ANSWER:       Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the remaining allegations in paragraph 8 and therefore denies.

         9.     The Jetta was covered by Volkswagen's express warranty.

         ANSWER:       Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 9 and therefore denies.

         10.    Plaintiff relied upon the above-described warranty in deciding to purchase the
Jetta.

         ANSWER:       Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 10 and therefore denies.

        11.    After taking delivery of the Jetta, plaintiff realized it suffered from numerous
defects which substantially impaired its use, value, and safety.

         ANSWER:       Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 11 and therefore denies.

         12.    Said defects are covered by the warranties described herein.

         ANSWER:       Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 12 and therefore denies.

         13.     On numerous occasions after taking delivery of the Jetta, and before expiration of
Volkswagen’s express warranty, the plaintiff notified Volkswagen and its authorized service
facilities of the defects.

         ANSWER:       Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 13 and therefore denies.

       14.      On numerous occasions, plaintiff made the Jetta available to Volkswagen's
authorized service facilities for repair of the defects, after which the defects continued to exist,
substantially impairing the use, value and safety of the Jetta.

         ANSWER:       Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 14 and therefore denies.




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        15.   The Jetta has been out of service due to warranty nonconformities on numerous
occasions throughout the time since delivery, substantially impairing the use, value and safety of
the Jetta.

         ANSWER:       Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 15 and therefore denies.

      16.    The Jetta's warranty nonconformities continue and have not been repaired by
Volkswagen or its authorized repair facilities.

         ANSWER:       Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 16 and therefore denies.

       17.     In September, 2020, plaintiff contacted Volkswagen to discuss the ongoing issues
with his car and the fact that he was making payments on a car that had numerous issues.
Volkswagen at that time told plaintiff he should stop making payments, because they would
switch out his vehicle due to the his ongoing issues with his current vehicle coupled with the
warranty claims he would making. Plaintiff believed that Volkswagen had the authority to allow
him to stop making the payments on the car.

         ANSWER:       Volkswagen denies the allegations in paragraph 17.

        18.     Plaintiff obtained the Jetta by financing part of the purchase price. The amount
plaintiff financed was less than $25,000. ACA provided the financing for plaintiff’s purchase.

         ANSWER:       Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 18 and therefore denies.

       19.     In March 2021, ACA contacted plaintiff and told him that his vehicle was in
“repossession status” due to his missing payments.

         ANSWER:       Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 19 and therefore denies.

       20.     In the March 2021 phone call, ACA told plaintiff that if he made a payment of
$505 that day, his car would be taken out of “repossession status,” which plaintiff understood to
mean that his loan would be restored to sufficient standing that he would not have to worry about
repossession.

         ANSWER:       Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 20 and therefore denies.


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       21.     Plaintiff paid the $505 as agreed, and based on the agreement believed his car was
no longer subject to repossession.

         ANSWER:       Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 21 and therefore denies.

       22.      ACA did not tell plaintiff that he had to resume making his regular payments on
the vehicle in the March 2021 phone call.

         ANSWER:       Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 22 and therefore denies.

       23.    On May 24th, plaintiff returned home and saw that the Jetta was missing from
where he had parked it. Plaintiff contacted ACA to see if they had after all repossessed his car.
ACA confirmed that it had been repossessed.

         ANSWER:       Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 23 and therefore denies.

       24.    Plaintiff asked where his car was and who had repossessed the vehicle. ACA
would not provide him that information.

         ANSWER:       Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 24 and therefore denies.

        25.     ACA told plaintiff on May 24th that he would have to pay approximately $5,000
to redeem his vehicle, which ACA said was inclusive of past due payments, fees they incurred in
repossession, but which ACA said did not include any fees the repossession company might
charge plaintiff.

         ANSWER:       Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 25 and therefore denies.

        26.     Upon information and belief, plaintiff has not received any written
correspondence from ACA or Volkswagen stating that he was in default on the loan at any time
in the year prior to repossession of the Jetta; and plaintiff has received no written correspondence
providing him an opportunity to cure any alleged defaults.

         ANSWER:       Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 26 and therefore denies.


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       27.     Upon information and belief, plaintiff has not received any communications
which provide him with the exact amount he needed to pay to redeem his vehicle from ACA at
any time since the Jetta was repossessed.

          ANSWER:      Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 27 and therefore denies.

        28.    At the time the Jetta was repossessed, an inspection of the Jetta was scheduled for
May 27, 2021. On May 25, 2021, counsel for plaintiff faxed a letter to ACA informing them of
the scheduled inspection and asked that ACA make the car available for the inspection. ACA
did not respond to that request.

          ANSWER:      Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 28 and therefore denies.

          29.   As a result of the failure to respond, the inspection had to be postponed.

          ANSWER:      Volkswagen admits that the inspection was postposed. Volkswagen lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations

in paragraph 29 and therefore denies.

                                          FIRST CLAIM

          30.   Reallege and incorporate the foregoing as though set forth fully at this point.

          ANSWER:      Volkswagen incorporates its answers to the foregoing as if set forth in full

herein.

          31.   The Jetta failed to conform to express warranties made by Volkswagen.

          ANSWER:      Volkswagen denies the allegations in paragraph 31.

       32.     When the plaintiff reported the Jetta's nonconformities to Volkswagen and its
authorized service facilities and made the Jetta available for repair prior to the expiration of the
warranty, Volkswagen had a duty to repair the nonconformities.

          ANSWER:      Volkswagen admits any duties imposed by law and denies the remaining

allegations in paragraph 32.




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        33.    Volkswagen breached its contractual and legal duty to the plaintiff by repeatedly
failing to repair the Jetta’s nonconformities, leaving its use, value, and safety substantially
impaired.

          ANSWER:      Volkswagen denies the allegations in paragraph 33.

        34.     As a direct and proximate result of Volkswagen's actions and omissions described
herein, plaintiff has suffered damages as set forth more fully below.

          ANSWER:      Volkswagen denies the allegations in paragraph 34.

                                        SECOND CLAIM

          35.   Reallege and incorporate the foregoing as though set forth fully at this point.

          ANSWER:      Volkswagen incorporates its answers to the foregoing as if set forth in full

herein.

       36.    The acts and omissions of Volkswagen alleged herein constitute violations of the
Federal Magnuson-Moss Warranty Act, 15 U.S.C. §§2301, et. seq., entitling the plaintiff to the
remedies described therein, as well as those damages set forth more fully below.

          ANSWER:      Volkswagen denies the allegations in paragraph 36.

                                         THIRD CLAIM

          37.   Reallege and incorporate the foregoing as though set forth fully at this point.

          ANSWER:      Volkswagen incorporates its answers to the foregoing as if set forth in full

herein.

        38.    Volkswagen made express warranties to plaintiff that the Jetta would conform to
the affirmations and promises made by Volkswagen concerning the condition and capabilities of
the Volkswagen.

          ANSWER:      Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 38 and therefore denies.

       39.     Volkswagen breached its express warranty by providing plaintiff with a motor
vehicle that suffered from substantial defects and which did not perform as Volkswagen had
warranted.

          ANSWER:      Volkswagen denies the allegations in paragraph 39.



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        40.     As a direct and proximate result of Volkswagen's actions and omissions described
herein, plaintiff has suffered the damages as set forth more fully below.

          ANSWER:      Volkswagen denies the allegations in paragraph 40.

                                        FOURTH CLAIM

          41.   Reallege and incorporate the foregoing as though set forth fully at this point.

          ANSWER:      Volkswagen incorporates its answers to the foregoing as if set forth in full

herein.

       42.     Volkswagen’s failure to repair the Jetta pursuant to defendant’s express warranty
has caused said warranty to fail of its essential purpose.

          ANSWER:      Volkswagen denies the allegations in paragraph 42.

       43.     As a direct and proximate result of the failure of Volkswagen to perform as
required by its express warranty, the plaintiff has suffered the damages as set forth more fully
below.

          ANSWER:      Volkswagen denies the allegations in paragraph 43.

        44.     As a direct and proximate result of Volkswagen's actions, omissions, violations
and breaches of its duties and breaches of warranties, both express and implied, the plaintiff has
suffered pecuniary loss, costs of repair, loss of income, collateral costs, costs of obtaining
alternative transportation, attorney fees, court costs and other losses.

          ANSWER:      Volkswagen denies the allegations in paragraph 44.

                                         FIFTH CLAIM:

          45.   Reallege and incorporate the foregoing as though set forth fully at this point.

          ANSWER:      Volkswagen incorporates its answers to the foregoing as if set forth in full

herein.

        46.    In March 2021, ACA told plaintiff that if he paid $505 his car would not be
subject to repossession. Plaintiff paid the $505.

          ANSWER:      Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 46 and therefore denies.




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       47.    ACA did not tell plaintiff there were any other conditions or requirements to
avoid repossession in and after March 2021, including specifically not telling plaintiff that after
the $505 he was to begin regular monthly payments.

          ANSWER:      Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 47 and therefore denies.

          48.   ACA then repossessed the Jetta on May 24, 2021.

          ANSWER:      Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 48 and therefore denies.

        49.     ACA’s actions were not done with honesty in fact and in keeping with reasonable
commercial standards; a reasonable merchant being honest in fact would have told plaintiff that
he must pay $505 at the time, and then resume and continue making his regular monthly
payments to continue to avoid repossession; or, alternatively, a reasonable and honest merchant
would have contacted plaintiff when and if his car would be returned to “repossession status”
after he paid the $505 in March 2021; ACA’s actions accordingly violate § 421.108, Wis. Stats.

          ANSWER:      Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 49 and therefore denies.

         50.     Plaintiff has suffered damages as a result of the foregoing allegations including
but not limited to increased costs to redeem his car (consisting of at least repossession fees and
potentially other charges) and loss of use of his vehicle, as well as possible additional costs in
this litigation.

          ANSWER:      Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 50 and therefore denies.

                                         SIXTH CLAIM:

          51.   Reallege and incorporate the foregoing as through set forth fully at this point.

          ANSWER:      Volkswagen incorporates its answers to the foregoing as if set forth in full

herein.

        52.     ACA’s actions as alleged herein constitute claiming rights to repossess plaintiff’s
Jetta in violation of the obligation of good faith, and to repossess plaintiff’s vehicle without
providing him in advance notices of default and an opportunity to cure, and to hold plaintiff’s
vehicle without providing plaintiff the full amount to redeem his vehicle.


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          ANSWER:      Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 52 and therefore denies.

      53.    ACA’s claimed rights as set forth herein do not actually exist, insofar as
Wisconsin law prohibits said actions.

          ANSWER:      Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 53 and therefore denies.

        54.     ACA has reason to know the rights it asserted regarding plaintiff and his vehicle
do not exist, because as a merchant ACA is deemed to know Wisconsin law.

          ANSWER:      Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 54 and therefore denies.

          55.   ACA’s conduct violates § 427.104(1) (j), Wis. Stats.

          ANSWER:      Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 55 and therefore denies.

       56.     Plaintiff has suffered damages by reason of ACA’s violation of § 427.104(1)(j)
including but not limited to emotional distress and increased costs to redeem his vehicle.

          ANSWER:      Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 56 and therefore denies.

                                       SEVENTH CLAIM:

          57.   Reallege and incorporate the foregoing as though set forth fully at this point.

          ANSWER:      Volkswagen incorporates its answers to the foregoing as if set forth in full

herein.

       58.      Volkswagen’s advice to plaintiff to stop paying his loan, coupled with ACA’s
conduct in telling plaintiff he need pay only $505 in March 2021 to avoid repossession, unfairly
took advantage of plaintiff’s lack of knowledge about his obligations under the car loan, and
caused plaintiff to misunderstand the true nature of the transaction between himself,
Volkswagen, and ACA.




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          ANSWER:      Volkswagen denies the allegations in paragraph 58 that are applicable to

Volkswagen and lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in paragraph 58 and therefore denies.

        59.     ACA’s failure to provide written notices of default, the right to cure, and
redemption information, coupled with ACA’s assertion that plaintiff might have to pay the
repossession company and ACA fees related to the repossession, unfairly took advantage of
plaintiff’s lack of knowledge and experience with consumer vehicle repossessions, and left
plaintiff unable to protect his interests by reason of his lack of understanding of these issues.

          ANSWER:      Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 59 and therefore denies.

         60.      Volkswagen’s and ACA’s conduct directed against plaintiff is unconscionable,
and as a result, this Court is requested to refuse to enforce the transaction between plaintiff, and
ACA and Volkswagen, any further, returning plaintiff’s Jetta to him and removing any
obligation for plaintiff to continue payment, and removing any lien asserted by ACA; further, the
Court is requested to order defendants to delete the tradeline from any credit reporting agencies
they have reported this obligation to, and not re-report it; further, the Court is requested to order
that neither defendant issue any document (including but not limited to a 1099) which purports to
shift tax liability to plaintiff or away from defendants.

          ANSWER:      Volkswagen denies the allegations in paragraph 58 that are applicable to

Volkswagen and lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in paragraph 60 and therefore denies.

                                        EIGHTH CLAIM:

          61.   Reallege and incorporate the foregoing as though set forth fully at this point.

          ANSWER:      Volkswagen incorporates its answers to the foregoing as if set forth in full

herein.

          62.   ACA’s conduct herein constitutes an illegal nonjudicial repossession.

          ANSWER:      Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 62 and therefore denies.

       63.    Plaintiff has suffered damages as a result of ACA’s illegal nonjudicial
repossession.

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         ANSWER:        Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 63 and therefore denies.

         64.    Plaintiff is entitled to his remedies as set forth in § 425.305, Wis. Stats.

         ANSWER:        Volkswagen lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 64 and therefore denies.

                                   AFFIRMATIVE DEFENSES

         As and for its affirmative defenses to the Complaint, Volkswagen hereby alleges as

follows:

         1.     Plaintiff's Complaint fails to state a claim upon which relief can be granted.

         2.     To the extent that Plaintiff complains of conditions alleged to have been

encountered in the use of the vehicle identified in the Amended Complaint, upon information

and belief, such conditions may be the result of an unauthorized modification, abuse, neglect,

misuse or other alterations of the subject vehicle.

         3.     Upon information and belief, the conditions about which the Plaintiff complains

with respect to the use and operation of the subject vehicle are intrinsic to the nature of the

subject vehicle.

         4.     Upon information and belief, the conditions complained of by Plaintiff with

respect to the subject vehicle were not warranted by Volkswagen.

         5.     Upon information and belief, the conditions complained of by Plaintiff with

respect to the subject vehicle did not substantially impair the use, value or safety of the subject

vehicle.

         6.     Plaintiff have failed to mitigate damages as required by law.

         7.     Upon information and belief, Plaintiff’s damages, if any, were caused by their

own acts, not the acts of Volkswagen.

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         8.     Upon information and belief, Plaintiff's damages, if any, were caused by persons

or entities other than Volkswagen, and for whose conduct Volkswagen is not responsible.

         9.     Even assuming that anything that Volkswagen did or did not do is deemed to be a

cause of Plaintiff's damages, Plaintiff's claims are barred from recovery by the doctrine of

superseding cause and/or intervening cause.

         10.    Plaintiff has failed to give timely notice of the alleged defect, breach of warranty,

revocation or other claims to Volkswagen.

         11.    Plaintiff's claims are barred in whole or in part by the defendant’s limitations on

damages and/or disclaimer of warranties, express or implied.

         12.    Plaintiff's claims for incidental or consequential damages, if any, are barred in

whole or in part because the alleged damages were not reasonably foreseeable.

         13.    Plaintiff's claims may be barred by any applicable statute of limitations, doctrine

of laches or statute of repose.

         14.    Plaintiff has failed to give proper notice of revocation.

         15.    Plaintiff has failed to participate in good faith and exhaust pre-litigation dispute

resolution options.

         16.    Venue for Plaintiff's claims is improper.

         17.    Plaintiff’s claims are barred by the doctrine of spoliation.

         18.    Plaintiff lacks standing to bring these claims as Plaintiff no longer owns or

possesses the subject vehicle die to his intentional failure to make monthly loan payments.

         19.    Plaintiff’s claims are moot.

         WHEREFORE defendant requests that the Court enter an Order dismissing the First

Amended Complaint with prejudice, awarding Volkswagen of America, Inc. its costs and

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expenses incurred in the defense of this matter, including actual attorney’s fees, and for such

other and further relief to which defendant may be entitled.

                                         JURY DEMAND

         Alternatively, defendant respectfully demands a trial by jury.

Dated this 3rd day of July, 2021.

                                                    QUARLES & BRADY LLP

                                                    Electronically signed by Sara P. Scullen
                                                    Sara P. Scullen (State Bar No. 1030763)
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                                                    Attorneys for Defendant Volkswagen Group of
                                                    America, Inc.




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